                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:13-CR-00258-RJC
 USA                            )
                                )
   v.                           )                                   ORDER
                                )
 CARROLL MACARTHUR WILLIAMS JR. )
                                )

        THIS MATTER is before the Court upon motion of the defendant pro se for a

recommendation for early release from confinement. (Doc. No. 351).

        Title 18, United States Code, Section 3624(c) allows the Bureau of Prisons (BOP) to

place a prisoner in pre-release custody under conditions, including home confinement, for the

last portion of his sentence to prepare him for re-entry into the community. The Second Chance

Act of 2007, among other things, expanded the allowable time period for pre-release custody

from six to twelve months, but limits the time in home confinement to six months. Pub. L. No.

110 199, § 251, 122 Stat. 657, 692-93 (2008). The Act clearly states that it does not alter the

BOP’s authority to designate the place of the prisoner’s imprisonment under 18 U.S.C. § 3621,

and prohibits a court from ordering that a sentence be served in a community confinement

facility. Id.

        The defendant recognizes the Court’s inability to order pre-release custody to a

residential re-entry center, but asks the Court to recommend such placement for twelve months.

(Doc. No. 351: Motion at 1). Although the Court appreciates the defendant’s efforts to improve

himself during confinement and his plans for employment after release, the Court declines to

recommend his early release because the BOP is in a better position to make the necessary

assessment.




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       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the United

States Probation Office.


                                                           Signed: February 14, 2017




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